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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
 ___________________________________
                                     :
 CHIZ MBAGWU,                        : CASE NO.:
                                     :
                         Plaintiff,  : COMPLAINT WITH DEMAND FOR
                                     : TRIAL BY JURY
 v.                                  :
                                     :
                                     :
 MARKIN CASTILLO-PEREZ and           :
 INDEPENDENT COLD ENTERPRISES        :
 LLC,                                :

                              Defendants.

 ___________________________________

        Plaintiff CHIZ MBAGWU, by way of Complaint, states:

                                            PARTIES

   1. Plaintiff CHIZ MBAGWU is an adult individual residing at 1753 Edward Terrace, Union,

NJ 07083.

   2. Defendant MARKIN CASTILLO-PEREZ is an adult individual residing at 70 West

Walnut Park, Roxbury, MA 02119.

   3. Defendant INDEPENDENT COLD ENTERPRISES LLC is an entity with an office

located at 153 Rogers Drive, Stoughton, MA 02072.

                                 JURISDICTION AND VENUE

   4. This Court has jurisdiction over this claim against the Defendants pursuant to 28 U.S.C

1332.

   5. The acts or omissions giving rise to the Plaintiff’s claim occurred in the District of New

Jersey. Venue is therefore proper under 28 U.S.C 1391(b).

                                         ALLEGATIONS
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   6. On December 18, 2020, Plaintiff, CHIZ MBAGWU, was the driver of a motor vehicle,

which was traveling on Carlsen Drive near Oakland Avenue in Union, New Jersey.

   7. At the same time and place aforesaid, Defendant MARKIN CASTILLO-PEREZ was

driving a motor vehicle owned by Defendant INDEPENDENT COLD ENTERPRISES LLC,

which was also traveling on Carlsen Drive near Oakland Avenue in Union, New Jersey.

   8. On or about December 18, 2020, an incident occurred when the Defendants’ vehicle struck

the vehicle driven by Plaintiff CHIZ MBAGWU.

   9. Defendant MARKIN CASTILLO-PEREZ operated the motor vehicle in such a careless

and negligent manner so as to cause an accident with the Plaintiff’s vehicle.

   10. Defendant INDEPENDENT COLD ENTERPRISES LLC negligently entrusted its vehicle

to Defendant MARKIN CASTILLO-PEREZ.

   11. At the time of the December 18, 2020 accident, Defendant MARKIN CASTILLO-PEREZ

was an employee and/or agent of Defendant INDEPENDENT COLD ENTERPRISES LLC and

was acting within the scope of his employment/agency.

   12. As a direct and approximate result of said accident, Plaintiff CHIZ MBAGWU suffered

severe painful bodily injuries, which injuries resulted in his obtaining medical treatment and

sustaining loss wages which caused him great pain and suffering.

   13. The acts or omissions by the Defendants described herein constitute the tort of negligence

under the laws of the State of New Jersey.

   WHEREFORE, Plaintiff CHIZ MBAGWU demands judgment against the Defendants,

MARKIN CASTILLO-PEREZ and INDEPENDENT COLD ENTERPRISES LLC, for damages,

together with interest, cost of suit and attorneys’ fees.
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                                           /s/ David Wasserman_________________
                                          David Wasserman, Esq.
                                          ANDREW PARK, P.C.
                                          450 Seventh Avenue, Suite 1805
                                          New York, NY 10123
                                          Tel: 212-239-3680
                                          Fax: 212-239-3683
                                          Attorneys for Plaintiff


Dated: October 5, 2021

                                    JURY DEMAND

       Plaintiff CHIZ MBAGWU demands a trial by jury on all issues.




                                          /s/ David Wasserman_________________
                                          David Wasserman, Esq.
                                          ANDREW PARK, P.C.
                                          450 Seventh Avenue, Suite 1805
                                          New York, NY 10123
                                          Tel: 212-239-3680
                                          Fax: 212-239-3683
                                          Attorneys for Plaintiff


Dated: October 5, 2021
